                         1:18-cv-01230-JES # 42       Page 1 of 15
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                                                                         Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS

ANTHONY BROWN,                             )
  Plaintiff,                               )
                                           )
  vs.                                      )       No. 18-1230
                                           )
MAJOR PRENTICE, et. al.                    )
 Defendants                                )

                           SUMMARY JUDGMENT ORDER

        This cause is before the Court for consideration of Defendants’ motion for

summary judgment on the issue of exhaustion of administrative remedies.[28]. For the

following reasons, Defendants Timothy Gross, David Jenkins, and Susan Prentice’s

motion for summary judgment is granted. [28].

                                    I. BACKGROUND

        The pro se Plaintiff has three claims before the Court alleging: 1) Defendant

Prentice violated his Eighth Amendment rights at Pontiac Correctional Center on

November 28, 2017 when she put Plaintiff in a cell with no working toilet as well as

feces and urine on the walls, floor, window, and door; 2) Defendant Prentice was

deliberately indifferent to Plaintiff’s serious mental health condition on November 28,

2017 when she refused to summon a crisis team after Plaintiff requested help and

indicated he planned to hang himself; and 3) Defendants Gross and Jenkins were

deliberately indifferent to Plaintiff’s serious mental and medical condition on

November 28, 2017 when they refused to get a crisis team and refused to provide

medical care after Plaintiff injured himself. Plaintiff claims he broke his plastic eating

                                               1
                         1:18-cv-01230-JES # 42       Page 2 of 15




utensil and inserted it into his penis until it bled. See October 29, 2018 Merit Review

Order.

         The Court previously considered Defendants’ motion for summary judgment on

June 24, 2019. The Court found Plaintiff had failed to exhaust after Plaintiff failed to

file a response to the motion. See January 22, 2020 Case Management Order.

         However, on January 22, 2020, the Court granted Plaintiff’s motion to reconsider

the dismissal of his case. See January 22, 2020 Case Management Order. The Court

vacated the June 24, 2019 Summary Judgment Order and stated it would consider the

response Plaintiff filed after the order was entered. In addition, the Court gave

Defendants time to file a reply. [39].

         The Court will again consider the motion for summary judgment as well as

Plaintiff’s response and Defendants’ reply. [28, 32, 39].

                                  II. LEGAL STANDARD

A. SUMMARY JUDGMENT

         The Court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law. Fed. R. Civ. P. 56(a). A movant may demonstrate the absence of a

material dispute through specific cites to admissible evidence, or by showing that the

nonmovant “cannot produce admissible evidence to support the [material] fact.” Fed.

R. Civ. P. 56(c)(B). If the movant clears this hurdle, the nonmovant may not simply rest

on his or her allegations in the complaint, but instead must point to admissible evidence

in the record to show that a genuine dispute exists. Id.; Harvey v. Town of Merrillville, 649

                                              2
                         1:18-cv-01230-JES # 42        Page 3 of 15




F.3d 526, 529 (7th Cir. 2011). “In a §1983 case, the plaintiff bears the burden of proof on

the constitutional deprivation that underlies the claim, and thus must come forward

with sufficient evidence to create genuine issues of material fact to avoid summary

judgment.” McAllister v. Price, 615 F.3d 877, 881 (7th Cir. 2010).

       At the summary judgment stage, evidence is viewed in the light most favorable

to the nonmovant, with material factual disputes resolved in the nonmovant's favor.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine dispute of material

fact exists when a reasonable juror could find for the nonmovant. Id.

B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

       The Prison Litigation Reform Act (PLRA) provides:

       No action shall be brought with respect to prison conditions under section 1983
       of this title, or any other Federal law, by a prisoner confined in any jail, prison, or
       other correctional facility until such administrative remedies as are available are
       exhausted. 42 U.S.C. §1997e(a).

       The Seventh Circuit “has taken a strict compliance approach to exhaustion.” Dole

v. Chandler, 438 F.3d 804, 809 (7th Cir. 2006). “Proper exhaustion demands compliance

with an agency’s deadlines and other critical procedural rules because no adjudicative

system can function effectively without imposing some orderly structure on the course

of its proceedings.” Woodford v. Ngo, 548 U.S. 81, 90-91 (2006); Pozo, v. McCaughtry, 286

F.3d 1022, 1025 (7th Cir.2002)(prisoner must file complaints and appeals “in the place,

and at the time, the prison's administrative rules require”).

       The Illinois Department of Corrections (IDOC) has an established grievance

procedure for inmates. See 20 Ill. Admin. Code §§ 504.800 et seq. For most complaints,


                                              3
                        1:18-cv-01230-JES # 42        Page 4 of 15




an inmate must first attempt to resolve his grievance with his counselor. 20 Ill. Admin.

Code. § 504.810(a). If the issue remains unresolved, an inmate may then file his written

grievance with the Grievance Officer within the 60-day says of the incident. 20 Ill.

Admin. Code. § 504.810(a).

       “The Grievance Officer shall consider the grievance and report his or her

findings and recommendations in writing to the Chief Administrative Officer (CAO)

within two months after receipt of the written grievance, when reasonably feasible

under the circumstances.” 20 Ill. Admin. Code. § 504.830 (e). The Warden or CAO will

then review the findings “and advise the offender of his or her decision in writing.” Id.

       If the inmate is still not satisfied with the response, the inmate can file an appeal

with the Administrative Review Board (ARB) with 30 days of receiving the CAO’s

response. 20 Ill. Admin. Code. § 504.850 (a). The ARB will submit a report to the

Director who will “make a final determination of the grievance within six months after

receipt of the appealed grievance, when reasonably feasible under the circumstances.”

20 Ill. Admin. Code. § 504.850 (d)(e).

       If an inmate fails to follow the grievance procedure rules, his claims will not be

considered to be exhausted, but instead forfeited, and he will be barred from filing suit

in federal court even if administrative remedies are for practical purposes no longer

available to him due to his procedural default. Pozo, 286 F.3d at 1025.

                                      III. FACTS

       Sharon Simpson has been the grievance officer at Pontiac Correctional Center

since November of 2009. (Def. Reply, [39], Simp. Aff., p. 1). Simpson says on

                                              4
                           1:18-cv-01230-JES # 42    Page 5 of 15




November 1, 2017, the Illinois Department of Corrections (IDOC) began a Grievance

Receipt Pilot Program for submitting and recording grievances. (Def. Reply, [39], Simp.

Aff., p. 1). The rules for the program were posted at every mail box, displayed on the

facility television channel, were available at prison libraries, and were provided upon

request. (Def. Reply, [39], Simp. Aff., p. 1).

       The Pilot Program required all grievances to be submitted in a “Grievance Only”

box. (Def. Reply, [39], Simp. Aff., p. 1). This included emergency grievances and

grievances directed to a counselor or grievance officer. If an inmate was confined to

segregation, staff members would bring the box to the front of each offender’s cell once

a day and the offender could submit his grievance. (Def. Reply, [39], Simp. Aff., p. 2).

       The grievance officer would then process every grievance submitted and log

each grievance. (Def. Reply, [39], Simp. Aff., p. 2). In addition, any time any IDOC staff

member took action in the grievance process, the information was entered in the

grievance log and became a part of the inmate’s Cumulative Counseling Summary.

(Def. Reply, [39], Simp. Aff., p. 2). If no entry was made, then the grievance office did

not receive a grievance.

       Plaintiff’s three surviving claims allege Defendants placed him in an unsanitary

cell and denied him needed medical and mental health care on November 28, 2017.

Plaintiff submitted four relevant grievances concerning his claims.

       Plaintiff submitted his first grievance to his counselor on December 6, 2017

complaining about the actions of Defendant Prentice. (Def. Mot., Ex. A)(Grv. No.

667658). His counselor responded on December 13, 2017. (Def. Mot., Ex. A). However,

                                                 5
                         1:18-cv-01230-JES # 42       Page 6 of 15




Plaintiff did not send his grievance on to the grievance officer until February 27, 2018.

Since Plaintiff alleged the incidents occurred on November 28, 2017, Plaintiff failed to

send his grievance to the officer within the required 60-day time frame. (Def. Mot., Ex.

C). Therefore, the Grievance Officer returned the untimely grievance to the Plaintiff

noting it would not be addressed further. (Def. Mot., Ex. C).

       On January 22, 2018, Plaintiff submitted his second grievance as an emergency

complaining “C/O Groose’” refused to provide medical care or a crisis team when

Plaintiff inserted a broken spork in his penis. (Def. Mot., Ex. B)(Grv. No. 68964). On

January 25, 2018, the Warden found the issue was not an emergency and the grievance

should be submitted through the normal grievance procedure. (Def. Mot., Ex. B).

       On January 26, 2018, Plaintiff’s counselor also provided a written response

noting the issue must be forwarded immediately to the grievance officer because it

involved a medical issue. In addition, the counselor advised Plaintiff there was no

“Officer Groose” at the institution. (Def. Mot., Ex. B).

       Plaintiff then submitted his January 22, 2018 grievance to the grievance officer on

February 27, 2018. The grievance officer sent the matter to the Health Care Unit for a

response. (Def. Mot., Ex. B).

       On April 3, 2018, the grievance officer found the issue was moot because Plaintiff

had received medical care for his injury. (Def. Mot., Ex. B). The officer again advised

Plaintiff he appeared to have listed an incorrect name for “Officer Groose” and there

were no other staff members with similar names. (Def. Mot., Ex. B, p. 1).



                                              6
                        1:18-cv-01230-JES # 42        Page 7 of 15




       While his second grievance was still pending, Plaintiff filed a third grievance

dated March 28, 2018, again complaining about his cell conditions and a lack of medical

care. (Def. Mot., Ex. D). The counselor returned the grievance on April 3, 2018. To the

extent Plaintiff was repeating claims already alleged against Defendant Prentice,

Plaintiff was reminded his initial grievance was denied when he failed to submit it to

the grievance officer within the proper time frame. (Def. Mot., Ex. D; see also Ex. A, (Grv.

No. 667658)).   This grievance was also well outside the 60 day deadline.

       Plaintiff was further reminded he already had a pending grievance concerning a

lack of medical care. As noted above, Plaintiff did ultimately receive a response to his

medical grievance.

       Finally, Plaintiff filed a new, fourth grievance directly with the ARB on April 10,

2018 complaining again about his cell conditions in April of 2017 and the failure of

Defendant “Gross” to provide medical treatment. (Def. Mot., Ex. E, p. 7). Plaintiff

noted when he filed prior grievances at Pontiac, he was told they were untimely and he

spelled the officer’s name wrong. However, Plaintiff said he now had the correct

spelling, and he wanted the ARB to address the issues. (Def. Mot., Ex. E).

       The ARB received Plaintiff’s grievance on April 13, 2018, but returned it to

Plaintiff noting he had not submitted his grievance within the proper time frame

because his allegations involved incidents which occurred on November 28, 2017. (Def.

Mot., Ex. E, p. 6). Therefore, the ARB would not address the grievance further.

                                  IV. ANALYSIS



                                             7
                         1:18-cv-01230-JES # 42        Page 8 of 15




       Defendants Prentice, Jenkins, and Gross argue they are entitled to summary

judgment because the Plaintiff did not exhaust his administrative remedies as required

for any of his claims.

       Defendants first argue Plaintiff failed to timely exhaust his administrative

remedies against Defendant Prentice. Plaintiff did file a grievance on December 6, 2017

and he received a counselor’s response on December 13, 2017. However, Plaintiff failed

to appeal to the grievance officer within the required 60 day time frame. Therefore, the

Plaintiff was informed this grievance was not timely and would not be considered

further.

       Plaintiff says he was unable to exhaust his administrative remedies for his claims

against Defendant Prentice because the grievance process was not “available” to him.

Kaba v. Stepp, 458 F.3d 678, 684 (7th Cir. 2006)(“If administrative remedies are not

‘available’ to an inmate, then the inmate cannot be required to exhaust.”) Courts have

found grievance procedures are not available if prison officials engage in “affirmative

misconduct” to prevent the prisoner from pursuing his administrative remedies. Dole,

438 F.3d at 809 (remedies unavailable where prison officials “do not respond to a

properly filed grievance”); see also Thomas v. Reese, 787 F.3d 845, 847–48 (7th Cir. 2015)

(remedies unavailable where correctional officer tells prisoner that prisoner cannot file

grievance when in fact prisoner can do so); Kaba v. Stepp, 458 F.3d 678, 686 (remedies

unavailable where prisoner presents evidence that prison personnel have “denied

[prisoner] grievance forms, threatened him, and solicited other inmates to attack him in

retaliation for filing grievances”); Dale v. Lappin, 376 F.3d 652, 656 (7th Cir. 2004)

                                              8
                         1:18-cv-01230-JES # 42        Page 9 of 15




(remedies unavailable where prison personnel prevent prisoner access to grievance

forms).

       In this case, Plaintiff says the procedures were unavailable to him because

officers would not bring him the grievance box to submit his grievance concerning

Defendant Prentice. Plaintiff says while he received the counselor’s response on

December 13, 2017, various officers refused to bring him the grievance box until

February 23, 2017. Therefore, he was unable to timely appeal his grievance to the

Grievance Officer.

       However, in their reply, Defendants have provided grievance logs

demonstrating Plaintiff did have access the grievance box during this time frame. (Def.

Reply, [39], Simp. Aff., p. 12-13). Between December 14, 2017 and February 23, 2018,

Plaintiffs submitted four grievances dated December 20, 2017; December 26, 2017;

December 30, 2017; and January 24, 2018. In each case, Plaintiff submitted his grievance

via the “Grievance Only” box. (Def. Reply, [39], Simp. Aff., p. 2).

       Plaintiff has not pointed to any specific instances where he attempted to submit

his grievance, nor any specific officers who refused to bring him the Grievance Only

box. See Schultz v. Pugh, 728 F.3d 619 (7th Cir. 2013)(since prisoner failed to set forth

specifics about why he was unable to exhaust, summary judgment for the defendants

was proper); Guenther v. Al-Shami, 2014 WL 1767076, at *3 (N.D.Ind. May 2, 2014)

(plaintiff has “offered only vague assertions, and an inmate must offer specifics about

his attempts to exhaust to create a genuine issue of fact.”). In addition, Plaintiff offers



                                              9
                       1:18-cv-01230-JES # 42        Page 10 of 15




no explanation for why he failed to appeal the grievance when he submitted four other

grievances by using the Grievance Only box during the relevant time frame.

       The Court typically cannot weigh conflicting evidence or make credibility

determinations at summary judgment. See Omnicare, Inc. v. UnitedHealth Grp., Inc., 629

F.3d 697, 704 (7th Cir. 2011). However, “[w]hen opposing parties tell two different

stories, one of which is blatantly contradicted by the record, so that no reasonable jury

could believe it, a court should not adopt that version of the facts for purposes of ruling

on a motion for summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007). In this

case, Plaintiff has presented no evidence he attempted to appeal his grievance, and his

own grievances demonstrate he had access to the grievance box during the relevant

time period. Consequently, Defendant Prentice’s motion for summary judgment is

granted.

       Defendants next argue Plaintiff cannot demonstrate he exhausted his

administrative remedies against Defendant Gross. Plaintiff submitted an emergency

grievance alleging a denial of medical care and naming Defendant “Groose” on January

22, 2018. (Def. Mot., Ex. B)(Grv. No. 68964). The Warden immediately found the issue

was not an emergency and Plaintiff’s counselor advised Plaintiff he should submit the

issue directly to the grievance officer. Plaintiff was also advised there was no Officer

Groose at Pontiac.

       On April 3, 2018, the Grievance Officer indicated he had requested a response

from the Health Care Unit. The officer ultimate found the grievance was moot because

medical staff verified Plaintiff had received medical care for his self-injury. The

                                            10
                       1:18-cv-01230-JES # 42       Page 11 of 15




Grievance Officer again noted there was no Officer Groose at Pontiac, and he was not

aware of any staff member with a similar name. Plaintiff did not appeal this finding to

the ARB. Therefore, Defendants argue they are entitled to summary judgment because

Plaintiff did not exhaust all available remedies.

       Plaintiff again says Pontiac Correctional Center officials prevented him from

exhausting his administrative remedies. First, Plaintiff notes he filed his grievance as an

emergency and he was not required to refile his grievance through the normal

grievance procedures. Nonetheless, Plaintiff failed to appeal the denial of his

emergency grievance to the ARB within the required 30 day time frame. Therefore,

Plaintiff did not exhaust his administrative remedies for his emergency grievance. See

Wilson v. George, 2020 WL 951080, at *3 (S.D.Ill. Feb, 27, 2020)(“Regardless of whether

the grievance was processed in the normal manner or as an emergency, if the inmate is

not satisfied with the warden’s decision, he or she has thirty days to appeal to the

Director of the IDOC by sending the grievance to the Administrative Review Board.”).

Plaintiff instead chose to resubmit his grievance through the normal procedures.

       Second, Plaintiff says the Defendants prevented him from exhausting his

administrative remedies when they continued to tell him there was no Officer Groose

and they refused to investigate further or provide the correct spelling.

       Regardless, the Plaintiff’s complaint complained about a denial of medical care

after he injured himself. The grievance officer asked the Health Care Unit to respond,

and medical providers stated they had provided treatment, what treatment was



                                            11
                        1:18-cv-01230-JES # 42       Page 12 of 15




provided, and when it was provided. Medical providers also indicated Plaintiff had no

further medical issues. Based on this response, Plaintiff’s grievance was denied.

       The Grievance Officer did note there was no Officer Groose at the facility and he

was unaware of a similar name based on reviewing a list of staff members. However,

the Grievance Officer was not responsible for conducting a further investigation

particularly since Plaintiff had not provided a description of this Defendant even after

his counselor told him there was no Officer Groose at Pontiac.

       Plaintiff has failed to explain why he did not appeal this grievance to the ARB.

Whether or not Plaintiff identified the correct last name, Plaintiff had identified his

claims and the grievance officer responded to Plaintiff’s specific complaint.

Furthermore, Plaintiff failed to explain why he did not file an amended grievance once

he discovered the name since the grievance procedures allow extra time for good cause

shown. 20 Ill. Admin. Code § 504.810(a).

       In short, Plaintiff did not follow the available grievance procedures when he

failed to appeal his emergency grievance to the ARB, and when he chose to file his

grievance through the normal grievance procedures, Plaintiff again failed to appeal to

the ARB. Defendant Gross’s motion for summary judgment is granted. See Jones v.

Bayler, 2019 WL 7938530, at *3 (C.D.Ill. May 28, 2019)(if emergency grievance is denied,

prisoner must either appeal warden’s response to the ARB, or refile through regular

procedures and complete this process).

       Finally, Defendants argue Plaintiff failed to exhaust his administrative remedies

for Defendant Jenkins. None of Plaintiff’s grievances mention this Defendant by name

                                             12
                         1:18-cv-01230-JES # 42        Page 13 of 15




or other description. Plaintiff concedes none of the grievances before the Court

mentioned Defendant Jenkins. However, Plaintiff now says he submitted another

grievance sometime in February of 2018, but his counselor failed to respond. Therefore,

Plaintiff again argues the grievance process was not available to him.

       Plaintiff does not provide any further details. He does not provide a copy of the

grievance, nor does he specify when it was submitted, or how it was submitted.

Plaintiff does not even explain what was contained in the grievance. See Schultz, 728

F.3d 619 (7th Cir. 2013)(summary judgment proper because prisoner failed to set forth

specifics about why he was unable to exhaust administrative remedies); Michas v. Health

Cost Controls of Illinois, Inc., 209 F.3d 687, 692 (7th Cir. 2000)(“neither the mere existence

of some alleged factual dispute between the parties, nor the existence of some

metaphysical doubt as to the material facts, will defeat a motion for summary

judgment.”)(emphasis in original)(internal quotations omitted); Guenther, 2014 WL

1767076, at *3 (plaintiff must offer more than “vague assertions” and instead must

provide “specifics about his attempts to exhaust to create a genuine issue of fact.”);

Cullins v. Nelson, 2010 WL 1930122, at *1 (N.D.Ill. May 13, 2010)( “a party cannot defeat

summary judgment by relying on unsubstantiated facts...”);see also Dale v. Lappin, 376

F.3d 652, 655–56 (7th Cir.2004) (plaintiff who offered concrete details in a sworn

statement submitted enough to defeat summary judgment, whereas vague assertions

are not sufficient to create a genuine issue of fact on exhaustion issue). In addition,

there is no record of any additional, relevant grievances submitted in the Grievance

Only box.

                                              13
                       1:18-cv-01230-JES # 42         Page 14 of 15




      More important, Plaintiff was required to do more when he did not receive a

response from his counselor. Plaintiff was still required to submit a written grievance

to the Grievance Officer within 60 days. See Wilborn v. Ealey, 881 F.3d 998, 1005 (7th

Cir. 2018)(“Under the regulations in effect then, we have clearly held, an Illinois

inmate must submit his grievance to a grievance officer, not only to a counselor, by

the (60 day) deadline.”): Jackson v. Shepherd, 552 Fed.Appx. 591, 592 (7th Cir. 2014)

(plaintiff “did not need a response from his counselor to move forward with his

grievance.”); Smith-Vasquez, 658 F. Supp. 2d 865, 874 (S.D. Ill. Sept. 8, 2009) (if a

counselor does not respond, the inmate must still file the grievance with the

grievance officer). Therefore, Defendant Jenkins’ motion for summary judgment is

also granted.

      IT IS THEREFORE ORDERED:

     1) Defendants Prentice, Jenkins, and Gross’s motion for summary judgment is

     granted pursuant to Federal Rule of Civil Procedure 56. [28]. The Clerk of the

     Court is directed to enter judgment in favor of Defendants and against Plaintiff.

     This case is terminated, with the parties to bear their own costs.

     2) If Plaintiff wishes to appeal this judgment, he must file a notice of appeal with

     this Court within 30 days of the entry of judgment. See Fed. R. App. P. 4(a)(4). A

     motion for leave to appeal in forma pauperis MUST identify the issues the

     Plaintiff will present on appeal to assist the court in determining whether the

     appeal is taken in good faith. See Fed. R. App. P. 24(a)(1)(c); See also Celske v

     Edwards, 164 F.3d 396, 398 (7th Cir. 1999)(an appellant should be given an

                                             14
                       1:18-cv-01230-JES # 42        Page 15 of 15




      opportunity to submit a statement of his grounds for appealing so that the district

      judge “can make a reasonable assessment of the issue of good faith.”); Walker v

      O’Brien, 216 F.3d 626, 632 (7th Cir. 2000)(providing that a good faith appeal is an

      appeal that “a reasonable person could suppose…has some merit” from a legal

      perspective). If Plaintiff does choose to appeal, he will be liable for the $505.00

      appellate filing fee regardless of the outcome of the appeal.


Entered this 7th day of April, 2020.




                                 s/ James E. Shadid
                   ____________________________________________
                                JAMES E. SHADID
                         UNITED STATES DISTRICT JUDGE




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